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                             UNITED STATES DISTRICT COURT

                                      DISTRICT OF MAINE


STEVE ANCTIL, JR.,                            )
                                              )
       Plaintiff                              )
                                              )
               v.                             )       1:16-cv-107
                                              )
JOSEPH FITZPATRICK, et als.,                  )
                                              )
       Defendants                             )


  ANSWER OF DEFENDANTS JOSPEH FITZPATRICK, RODNEY BOUFFARD AND
         RANDALL LIBERTY TO SECOND AMENDED COMPLAINT

       Defendants Joseph Fitzpatrick, Rodney Bouffard and Randall Liberty answer the Second

Amended Complaint as follows:

       I. Defendants admit that plaintiff filed the lawsuit alleged in the Complaint but deny that

this is the only other lawsuit filed by the plaintiff against Department of Corrections employees.

       II. Defendants admit that plaintiff is incarcerated at the Maine State Prison. Defendants

neither admit nor deny that plaintiff has filed a grievance concerning all of the claims alleged in

his complaint as they are numerous.

       III. Defendants admit that plaintiff is a prisoner incarcerated at the Maine State Prison.

Defendants admit that Joseph Fitzpatrick is Commissioner of the Department of Corrections.

Defendants deny that Rodney Bouffard is an associate commissioner. Defendants admit that

Randall Liberty is the warden of the Maine State Prison.

       IV. Pursuant to the Court’s Order Affirming in Part and Rejecting in Part the

Recommended Decisions of the Magistrate Judge (ECF No. 68), defendants respond only to
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those allegations of fact in the Statement of Claim relating to plaintiff’s claim that defendants

interfered with plaintiff’s legal mail.

        Defendants neither admit nor deny the allegations on Page 4 of the Statement of Claim

regarding the inadvertent opening of plaintiff’s mail from the Volunteer Lawyers Project for lack

of sufficient knowledge and information.

        Defendants neither admit nor deny the allegations on Page 4 of the Statement of Claim

regarding the taped envelope from the Maine Human Rights Committee for lack of sufficient

knowledge and information.

        Defendants neither admit nor deny the allegations on the same page regarding

correspondence from OPEGA for lack of sufficient knowledge and information.

        Defendants neither admit nor deny the allegations on Page 5 of the Statement of Claim

regarding plaintiff’s letter to the federal court for lack of sufficient knowledge and information.

        Defendants neither admit nor deny the allegations on the same page regarding removal of

plaintiff’s mail for lack of sufficient knowledge and information.

        Defendants neither admit nor deny the allegations on Page 6 of the Statement of Claim

regarding mail from the Office of Civil Rights for lack of sufficient knowledge and information.

        Defendants neither admit nor deny the allegations on Page 7 of the Statement of Claim

regarding mail from the Center for Constitutional Rights for lack of sufficient knowledge and

information.

        V. This section of the Complaint sets forth claims for relief, and no response is required.

        WHEREFORE, defendants request that judgment be entered in their favor and that they

be awarded costs.
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       AND FURTHER ANSWERING, defendants state as follows:

                                    AFFIRMATIVE DEFENSES

       1. The complaint fails to state a claim upon which relief can be granted as to these

defendants.

       2. Any claim for damages for emotional and mental distress as to plaintiff’s claims of

interference with his legal mail are barred by plaintiff’s failure to allege a physical injury.

       3. Defendants are entitled to qualified immunity.

       4. Plaintiff’s claim for punitive damages is barred by the prospective relief provisions of

the Prison Litigation Reform Act.

       5. Plaintiff failed to exhaust available administrative remedies as to some or all of the

claims alleging interference with his legal mail, and those claims must be dismissed.




November 27, 2017                                      __/s/ James E. Fortin___
                                                       James E. Fortin
                                                       Assistant Attorney General
                                                       James.Fortin@maine.gov

Office of the Attorney General
Six State House Station
Augusta, ME 04333
626-8800
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                                      Certificate of Service

        The undersigned hereby certifies that he electronically filed the above document with the
Clerk of Court using the CM/ECF system, which will serve a copy on all counsel of record, and
that he mailed a copy, postage paid, to the following:

Steve Anctil, Jr.
Maine State Prison
807 Cushing Road
Warren, ME 04864


November 27, 2017                                   /s/ James E. Fortin
                                                    James E. Fortin
                                                    Assistant Attorney General
